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                       United States District Court
                           D i s t r i c t of Massachusetts




UNITED STATES OF AMERICA,


               V.




MARTIN GOTTESFELD                                Criminal Action No
                                                 16-10305-NMG
               Defendant




                                        ORDER


GORTON,   J.

     Pursuant to Mass. Sup. Jud. Ct. R. 3:07, R. Prof. Conduct

3.3(e)(2), Attorney Grimaldi's motion (Docket No. 241) and

exhibits (separately filed, Docket No. 242) are referred to the

emergency judge in this district to be handled expeditiously.

The judicial officer presiding over this session has not

reviewed the attached exhibits, filed ^               parte, in accordance

with Rule 3.3(e)(2).




So ordered.




                                            Nathaniel M. Gorton
                                            United States District Judge
Dated July          2018




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